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Exhibit 1
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SERIAL NO. Qui

Patterson, Belknap, Webb & Tyleru- SERVED

1133 Avenue of the Americas .
New York, NY 10036-6710 RECEIVED
(212) 336-2000
Fax (212) 336-2222
Erik Haas . Direct Phor] eFILE
’ (212) 336-Bidiee.,

Ernail Address
ehaas@pbwtcom

April 7, 2004

By Hand

Thomas F. Fitzgerald, Esq.

The Groom Law Group

1701 Pennsylvania Avenue, N.W.
Washington, D.C. 20006

Re: Imre Pharmaceutical Industry Average Wholesale Price Litigation

Mr. Fitzgerald:

- We write on behalf of all defendants to the Amended Master Consolidated Class
Action Complaint to update you on the recent rulings that allow and require defendants to
promptly pursue the discovery demanded by the subpoena we served on your client last
November, and to reinitiate discussions concerning your client's response.

Specifically, on February 24, 2004, the Court denied defendants’ motions to
dismiss, significantly expanding the drugs at issue in this litigation. Thereafter, on March 8, the
Court denied plaintiffs’ motion to quash defendants’ subpoenas, authorizing defendants to.
proceed with their discovery demands on third party private payors, including your client.
Finally, on March 25, the Court issued a case management order that created a fast track
discovery schedule for this matter.

In accord with those rulings, we have reissued on behalf of all remaining
defendants the subpoena previously served on your client (a copy of which is annexed) and call
for an initial production by May 5. There are only two substantive changes from the prior
subpoena. First, the list of “subject drugs” has been substantially expanded to reflect the drugs
that are now at issue in the case. Second, the operative time period has been made consistent as
to all requests as January 1, 1991 to the present.

Consistent with our earlier conversations, we reiterate defendants' commitment to
work with you in an attempt to define a production that provides defendants with the information
required to respond to plaintiffs’ claims, while minimizing the burden on your client. To that
end, we provide the following elaboration regarding the scope of the production we envision
would satisfy the document demands.
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Page 2

First, with respect to claims data that is maintained in electronic format and
should be relatively straightforward to produce, we have limited the specific data fields
defendants require to those identified in the annexed file layout. By “claims data” we refer to the
electronic transaction records showing reimbursement or payment for the subject drugs. That
data is encompassed by numerous document requests, including numbers 2, 6, 9, 10, and 15. It
is our understanding that this information may be generated in relatively short order, given the
manner in which it is maintained. Please let us know immediately if this is not the case.

Second, with respect to the hard-copy or electtonic documents called for by the
demands, defendants will accept documents sufficient to show the following:

1. The methodologies your client has utilized during the relevant time period to
reimburse for drugs, whether based on AWP, and the rationale for adopting the
particular reimbursement methodologies used. (Document requests 2, 3 and 4).

2. Your client's understanding of (a) the term "A WP" or “average wholesale price”,
including whether AWP equals the average of actual acquisition prices, and (b)
whether health care providers, retailers and pharmacy benefit managers (“PBMs”)
earn a margin on drugs administered or dispensed. (Document requests 1, 5, 7, 8,
11,16, and 18).

3. Analyses and discussions concerning whether servicing or administration fees
paid to health care providers for administering digs are sufficient to cover costs
associated with the drug administration. (Document requests 2, 4, 8, 11, and 16).

4. The identities of the Pharmacy Benefits Managers (“PBMs”) and specialty
pharmacies (“SPs”) with which you have contractual relationships and, with
respect to those PBMs and SPs, the methodologies used to reimburse or pay the
PBMs and SPs for drugs administered or dispensed. (Document requests 2, 10,
16, 18).

5. Analyses concerning the relative levels of reimbursement: for drugs administered
in hospitals versus administered in.doctors' offices, by other providers, or in other
outpatient settings such as homecare, and documents showing any changes in
those relative reimbursement levels during the relevant time period. (Document
requests 20 and 21).

6. Communications with federal, state or local governments regarding points 1
through 5 above, including government reports in your possession showing that
AWP does not equal the average of actual acquisition prices. (Document requests
22, 23 and 24).

In view of the expedited schedule ordered by the Court, we request that your
client produce on a rolling basis, as the responsive documentation is identified. A useful starting
point is the production of those documents your client produced in any other litigation,

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government investigation or inquiry related to the use of AWP in Medicare, Medicaid or private
reimbursement. Such production would be encompassed by document request 25.

While the subpoena calls for the production of a deposition witness on May 6, we .
are willing to work with you to schedule a mutually agreeable deposition date. In some cases,
based on the documentation produced, a deposition might not be required.

We look forward to discussing these issues with you in greater detail.

Very truly yours,

a

Enk Haas

Enclosure
cc: All Counsel of Record (by Verilaw)

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Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 5 of 24

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AO 88 (Rev. 1/94) Subpoena in a Civil Case

UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

In re: PHARMACEUTICAL INDUSTRY : SUBPOENA IN A CIVIL CASE
AVERAGE WHOLESALE PRICE LITIGATION : MDL NO. 1456
: Civil Action No. 01-12257-PBS

Judge Patti B. Saris

THIS DOCUMENT RELATES TO THE MASTER  : {case pending in D. Mass.)

' CONSOLIDATED CLASS ACTION

TO: United Healthcare
9900 Bren Road East
. Minnetonka, MN 55343

C] You ARE COMMANDED to appear in the United States District Court at the place, date, and time

specified below to testify in the above case.
PLACE OF TESTIMONY .

COURTROOM

DATE AND TIME

YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking

of a deposition in the above case.

PLACE OF DEPOSITION ~ DATE AND TIME
United Healthcare May 6, 2004 at 10 a.m.
9900 Bren Road East
Minnetonka, MN 55343

YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or
objects at the place, date, and time specified below (list documents or objects):

See Schedule A, attached hereto.

PLACE

United Health DATE AND TIME
ited Healthcare .
9900 Bren Road East May 5, 2004 at 10 a.m.
Minnetonka, MN 55343
O ‘YOU ARE COMMANDED to permit inspection of the following premises at the date and time specified
below. .
PREMISES DATE AND TIME

Any organization not a party to this suit that is subpoenaed for the taking of a deposition shail
designate one or more officers, directors, or managing agents, or other persons who consent to testify on
its behalf, and may set forth, for each person designated, the matters on which the person will testify.

Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER §, ATU! AND TITLE (INDICATE IF ATTORNEY FOR PLAINTIFF OR DEFENDANT)
——e

Attorney wnat mes & Johnson, Centocor Inc. Ortho Biotech

Products L.P., Janssen Pharmaceutica L.P. and McNeil-PPC on behalf of all

defendants to the Amended Master Consolidated Class Action Complaint

DATE

April 5, 2004

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER: Erik Haas, Patterson, Belknap, Webb & Tyler LLP, 1133 Avenue of the

Americas, New York, NY 10036. (212) 336 2000.

(See Rule 45, Federal Rules of Civil Procedure, Parts C & D on Reverse}
Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 8 of 24

AO 88 (Rev. 1/94) Subpoena in a Civil Case

PROOF OF SERVICE

SERVED

DATE

PLACE

SERVED ON (PRINT NAME)

MANNER OF SERVICE

SERVED BY (PRINT NAME)

TITLE

DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregegrinformation
.contained in the Proof of Service is true and correct.

Executed on

DATE SIGNATURE OF SERVER

ADDRESS OF SERVER

Rule 45, Federal Rules of Civil Procedure, Parts C & D:

(C) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

(1) A party or an attorney responsible for the issuance and service of a subpoena shall take reasnable steps to
avoid imposing undue burden or expense on a person subject to that subpoena. The court on behalf of which the
subpoena was issued shall enforce this duty and impose upon the party or attorney in breach of this duty an
appropriate sanction which may include, but is not limited to, lost earnings and reasonable attorney's fee.

(2) (A) A person commanded to produce and permit inspection and copying of designated books, papers, documents
or tangible things, or inspection of premises need not appar in person at the place of production or inspection unless
commanded to appear for deposition, hearing or trial. . :

(B) Subject to paragraph (d) (2) of this rule, a person commanded, to produce and permit inspection and copying
may within 14 days after service of subpoena or before the time specified for compliance if such time is less than 14
days after service, serve objection to inspection or copying of any or all of the designated materials or of the premises. If
objection is made, the party service the subpoena shall not be entitled to inspect and copy materials or inspect the
premises expect pursuant to an order of the court by which the subpoena was issued. If objection has been made, the
party serving the subpoena may, upon notice to the person commantled to produce, move at any time for an order to
compel the production. Such an order to compel production shall protect any person who is not a party or an officer of a
party from significant expense resulting from the inspection and copying commanded.

(3) (A) On timely motion, the court by which a subpoena was issued shall quash or modify the subpoena if it

(i) fails to allow reasonable time for compliance;

(i) requires a person who is not a party or an officer of a party to travel to a place more thanl00 miles from
the place where that person resides, is employed or regularly transacts business in person, except that, subject to the
provisions of clause (c} (3) (B) (iii) of this rule, such a person may in order to attend trial be commanded to travel fm
any such place within the state in which the trial is held, or : .

(iii) requires disclosure of privileged or other protected matter and no exception or waiver applies, or

{iv} subjects a person to undue burden.

(B) If a subpoena

(i) requires disclosure of a trade secret or other confidential research, development, or commercial
information, or :

(i) requires disclosure of an unretained expert’s opinion or information not describing specific events or
occurrences in dispute and resulting from the expert’s ¢udy made not at.the request of any party, or

(iii) requires a person who is not a party of an officer of a party to incur substantial expense to travel more
than 100 miles to attend trial, the court may, to protect a person subject to or affected by the nbpoena, quash or
modify the subpoena, or, if the party in whose behalf the subpoena is issued shows a substantial need for the testimony
or material that cannot be otherwise met without undue hardship and assures that the person to whom the subpoena is
addressed will be reasonably compensated, the court may order appearance or production only upon specified
conditions.

(4) DUTIES IN RESPONDING TO SUBPOENA.

(1) A person responding to a subpoena to produce documents shall produce them as they are kept inte usual
course of business or shall organize and label them to correspond with the categories in the demand.

(2) When information subject to a subpoena is withheld on a'claim that it is privileged or subject to protection as
trial preparation materials, the claim shall be made expressly and shall be supported by a description of the nature of
the documents, communications, or things not produced that is sufficient to enable the demanding party to contest the
claim.
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SCHEDULE A

DEFINITIONS

1. "United Healthcare” ("United") means United and any of its past or present
trustees, officials, officers, fiduciaries, representatives, agents, assigns, attorneys, employees,
divisions, departments, affiliates, and all other persons or entities acting or purporting to act on
its behalf or under its control.

2. "AMCC" means the Amended Master Consolidated Class Action
_ Complaint filed in connection with MDL Docket No. 1456, Civil Action No. 01-12257-PBS, in

the United States District Court for the District of Massachusetts.

3. "AMP" or "Average Manufacturer Price" shall have the meaning set forth
in 42 U.S.C. § 1396r-8(k)(1).

4. . "And" and "or" shall be construed either disjunctively or conjunctively as
necessary to bring within the scope of the request any information that might otherwise be
construed to be outside its scope.

5. "Auditor" means any independent entity that provides an independent,
third-party audit review of any aspect of medical coverage or services provided by any health
plan or health and welfare fund to any of its participants or beneficiaries.

6. "AWP" or "Average Wholesale Price" means the price for drugs as
periodically published by one or more pharmaceutical industry compendia, including the Drug
Topics Red Book (the "Red Book"), American Druggist First Databank Annual Directory of

Pharmaceuticals ("First DataBank"), Essential Directory of Pharmaceuticals (the "Blue Book")
and Medi-Span’s Master Drug Database ("Medi-Span"’).

7. "Benefit Consultant" means any person or entity that provides information,
Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 10 of 24

counsel ot advice to any health plan or health and welfare fund regarding any medical benefit or
service provided by any health plan or health and welfare fund to any participant or beneficiary.

8. "Best Price" shall have the meaning ascribed to that term pursuant to 42
USS.C. § 1396r-8(c)(1)(C).

9. "CMS" shall mean Centers for Medicare and Medicaid Services.
~ 10. "Communication" means the transmittal of information (in the form of
facts, ideas, inquiries, or otherwise).

11. "Concerning" means referring to, describing, evidencing, or constituting.

12. "Copy" or "Copies" when used in reference to a document means any color
or black-and-white reproduction of a document, regardless of whether the reproduction is made
by means of carbon paper pressure, sensitive paper, photostat, xerography, or other means or
process.

13. "Document" means the original and each non-identical copy of a document
in any medium, including electronic form; whether or not it was communicated to any person
other than the author, and shall include but not be limited to, writings, printings, photographs,
photocopies, tapes, recordings, video recordings, electronic data, e-mails, and any other symbolic
representations in your possession, custody or control or known or believed by you to exist.

14. "EAC" or "Estimated Acquisition Cost" shall have the meaning ascribed to
that term pursuant to 42 C.F.R. § 447.301.

15. "Government payor" means any federal or state government entity or
program that reimburses Providers for drugs or health care services, including but not limited to
CMS, Medicare, and Medicaid.

16. "Independent Practice Association" means any organized group of
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providers whose members provide health care to any participant or beneficiary.

17, "MAC" means Maximum Allowable Cost and includes the meaning
ascribed to that term pursuant to 42 C.F.R. § 442.332.

18. "Manufacturer" means a company that manufactures pharmaceutical
products, including, without limitation, subject drugs.

19. "MCC" means the Master Consolidated Class Action Complaint filed in
connection with MDL Docket No. 1456, Civil Action No. 01 -12257-PBS, in the United States
District Court for the District of Massachusetts.

' 20.  "PBM" means pharmacy benefit manager.

21.. The terms "Participant" and "Beneficiary" mean a person for whom a
health plan or health and welfare fund provides any medical or health insurance benefit.

22. "Person" means any natural person or any business, legal, or governmental
entity or association.

23. "Price" means any payment made for a drug with or without discounts,
rebates or other incentives affecting the cost of the drug.

24. "Private payor" means any non-government entity or program that
reimburses Providers for drugs or health care services, including but not limited to health
insurance companies, health maintenance organizations, preferred provider organizations, self
. insurance plans, health plans, unions, and welfare and benefit funds.

25. "Provider" means any physician or entity that provides health care to any
Participant or Beneficiary.

26. “Publisher” means an entity that publishes a listing of pharmaceutical

prices, and includes publications identified in Health Care Financing Administration Program
Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 12 of 24

Memorandum AB-99-63 and includes FirstDataBank, Red Book, Blue Book and Medispan.

27. "Relating" means in any way concerning or referring to, consisting of,
involving, regarding or connected with the subject matter of the request.

28. "Subject drug" or "subject drugs" means one or more of drugs listed on .
Exhibit A hereto.

29. "Third Party Administrator" means any entity that provides administrative
services to any health plan or health and welfare fund relating to any medical benefit provided to
any participant or beneficiary.

30. "WAC" means wholesale acquisition cost or the list prices for sales by
manufacturers to wholesalers.

31. "Wholesaler" means any entity that purchases subject drugs from a
manufacturer and resells such drugs to any other entity.

32. "You" or "your" shall refer to United. _
Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 13 of 24

INSTRUCTIONS
L. Unless otherwise specifically stated, the requests below refer to the period
of January 1, 1991 to the present.
2. The singular form of a noun or pronoun shall include within its meaning

the plural form of the noun or pronoun and vice versa; the masculine form of.a pronoun shall
include within its meaning the feminine form of the pronoun and vice versa; and the use of any
_ tense of any verb shall include within its meaning all other tenses of the verb.

3. Each request for production of documents extends to all documents in the
possession, custody, or control of you or anyone acting on your behalf. A document is to be
deemed in your possession, custody, or control if it is in your physical custody, or if it is in the
physical custody of any other person and you (a) own such document in whole or in part; (b) -
have a right, by contract, statute, or otherwise, to use, inspect, examine, or copy such document
on any terms; (c) have an understanding, express or implied, that you may-use, inspect, examine,
or copy such document on any terms; or (d) have, as a practical matter, been able to use, inspect,
examine, or copy such document when you sought to do so.

4, If production is requested of a document that is no longer in your
possession, custody, or control, your response should state when the document was most recently
in your possession, custody, or control, how the document was disposed of, and the identity of
the person, if any, presently in possession, custody, or control of such document. If the document
has been destroyed, state the reason for its destruction.

5. Provide the following information for each document withheld on the

grounds of privilege:

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Case 1:01-cv-12257-PBS Document 1772-5 Filed 10/12/05 Page 14 of 24

(a) its date;

(b) _ its title;

(c) its author;

(d) its addressee;

(e) the specific privilege under which it is withheld;

(f) its general subject matter; and

(g) a description of it that you contend is adequate to support your contention that it is
privileged.

6. These requests for production of documents are continuing in nature
pursuant to Rule 26 of the Federal Rules of Civil Procedure so as to require, whenever necessary,
continuing production and supplementation of responses between the initial date for production
set forth above and the time of trial.

7. The documents produced must be produced as they are kept in the usual
course of business or organized and labeled to correspond with the categories in the request.

8. To the extent that you consider any of the following requests for
' production of documents objectionable, please respond to the remainder of the production
request, and separately state the part of each request to which you object and each ground for

each objection.

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DOCUMENTS TO BE PRODUCED

1. All documents relating to or reflecting any definition or meaning of AWP.

2. All documents that reflect, discuss, memorialize, or otherwise relate to
your setting of reimbursement or payment rates for any subject drug. —

3. All documents that you or someone acting on your behalf relied upon in
setting reimbursement or payment rates for any subject drug.

4, All minutes from meetings where reimbursement or payment for subject
drugs was discussed, including meetings where the setting of reimbursement or payment rates
was discussed.

5. All documents relating to or reflecting the costs to providers of any subject

6. All documents relating to or reflecting the amounts you reimburse
providers for any subject drug.

7. All documents relating to or reflecting any differences between the costs to
providers of any subject drug and the amounts you reimburse providers for any subject drug.

8. All documents relating to or reflecting your awareness that the costs to
providers of subject drugs are different from the amounts you reimburse providers for subject
drugs.

9. All documents relating to your claims processing policies and procedures
for any subject drug.

10. All documents reflecting any payments made by you that were based in

whole or in part on the AWP of any subject drug.

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ll. All communications between you and providers or pharmacies relating to
reimbursement, payment or prices of any subject drug.

12. _ All documents relating to any requests by you for any information
‘concerning the reimbursement, pricing or payment for any subject drug.

13. ~All documents conceming your decision to rely on, reliance on, or use of
drug pricing information published by any publisher for any subject drug.

14. All documents created by or received from any publisher, including but
not limited to drug pricing information, and communications, memoranda, contracts or
agreements between you and any publisher regarding any subject drug.

15. All documents relating or referring to AWPs, including documents that
relate or refer to the relationship between any price and AWP for any subject drug.

16. All documents relating or referring to any difference between an AWP and
an actual payment by you or anyone else for any subject drug.

17, To the extent not otherwise produced, .all documents concerning AWP,
AMP, WAC, MAC, EAC, Best Price or any other drug pricing, payment or reimbursement
information for any subject drug.

18. = All documents relating or referring to your contractual relationships with

. PBMs, third party administrators, benefit consultants, auditors, wholesalers, manufacturers,
independent practice associations, pharmacies or providers insofar as they cover subject drugs,
including, without limitation, master agreements, addenda, schedules, attachments, requests for
proposal, responses to requests for proposal and correspondence.

19. Documents sufficient to identify all persons involved in negotiation of

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contractual relationships with PBMs, third party administrators, benefit consultants, auditors,
wholesalers, manufacturers, independent practice associations, pharmacies or providers insofar
as they cover any subject drug.

20. All documents relating to any profit analysis you have performed or
received relating to your reimbursement or payment for any subject drug.

21. All documents concerning any internal or external, formal or informal,
investigations, studies, research, assessments, analyses, reviews or audits regarding drug pricing |
or reimbursement on payment amounts or rates for any subject drug.

22, All filings with any state or federal government entity made by you or on
your behalf that refer or relate to AWP.

23. All documents créated by or received from CMS, United States .
Department of Health and Human Services, The Health and Human Services Office of the
Inspector General, the General Accounting Office, Congress or any other federal or state
institution, agency, department, or office regarding the pricing of prescription drugs.

24. All documents provided to CMS, United States Department of Health and
Human Services, the Department of Health and Human Services Office of the Inspector General,
_ the General Accounting Office, Congress, or any other federal or state institution, agency,
department, or office regarding the pricing of any subj ect drug.

25. All documents produced by you in any litigation, government investigation
or inquiry related to the use of AWP in Medicare, Medicaid or private reimbursement.

26. All current and historical organizational charts for all of your departments.

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ALL DRUGS LISTED BELOW ARE SUBJECT TO THESE DISCOVERY REQUESTS

EXHIBIT A

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Abbott Acetylcyst
Abbott Acyclovir
Abbott A-Methapred
Abbott Amikacin
Abbott Amikacin Sul
Abbott Aminosyni
Abbott [Biaxin
Abbott Calcijex
Abbott Cimetidine
Abbott Clindamycin
Abbott Depakote
Abbott Depakote SPR
: |Abbott Dextrose
Abbott: Dextrose w/Sodium Chloride
Abbott Diazepam
Abbott Ery-Tab
[Abbott Erythromycin Cap
Abbott Erythromycin Tab Bs
Abbott Fentanyl Cit
\Abbott Furosemide
Abbott Gentamicin
Abbott Heparin Lock
Abbott Leucovor CA
Abbott Lorazepam
Abbott Prevacid Cap
_|Abbott Prevacid Gra
Abbott Sod Chloride
Abbott Sodium Chloride Sol
Abbott Tobra/Nacl
Abbott _ Tobramycin
Abbott Vancomycin
Allen & Hanburys Beconase AQ SPR
Allen & Hanburys Flonase SPR
Allen & Hanburys Serevent AER
Allen & Hanburys Serevent DIS MIS
Amgen Aranesp
Ameen: Enbrel
Amgen Epogen
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Amgen Kineret
Amgen INeulasta
Amgen INeupogen
Astrazeneca Accolate
Astrazeneca ‘Arimidex
Astrazeneca Casodex
Astrazeneca Diprivan
[Astrazeneca Nolvadex
Astrazeneca Seroquel
Astrazeneca Zestril
[Astrazeneca Zoladex
Astrazeneca Zomig
Astrazeneca Zomig ZMT
Astrazeneca Atacand
Astrazeneca ‘Atacand HCT

_ {Astrazeneca Entocort EC
Astrazeneca INexiwm.
Astrazeneca Prilosec
Astrazeneca IPulmicort
Astrazeneca Rhinocort
Astrazeneca toprol XL
Aventis Allegra
Aventis Allegra-D

- |Aventis Amaryl

‘Aventis Anzemet
Aventis Arava
Aventis Azmacourt
[Aventis Calcimar
Aventis Carafate
Aventis Cardizem Cap
Aventis (Cardizem Inj

_jAventis Cardizem Tab
Aventis Gammar »
Aventis Gammar P-IV
Aventis Intal
Aventis Intal INH
Aventis iNasacort
Aventis INasacort AQ
Aventis Taxotere

Aventis Trental
1B. Braun Dextrose

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. Braun . Dextrose with sodium chloride
IB. Braun Dextrose with lactated ringers
B. Braun Heparin with dextrose
B. Braun Heparin with sodium chloride
IB. Braun : Sodium chloride [V solution
B. Braun Sodium chloride irrigation
Baxter '__jAggrastat
Baxter Ativan
Baxter Bebulin VH
Baxter Brevibloc
Baxter Buminate
Baxter Cisplatin
Baxter _ Claforan/D5W
Baxter Dextrose
Baxter \_ [Doxorubicin
Baxter , Gammagard SD
Baxter Gentam/NACL
Baxter Gentran 40
Baxter Gentran 75
Baxter Gentran/Trav
Baxter (Heparin Lock
Baxter Iveegam
Baxter iIveegam EN
Baxter . , Osmitrol
Baxter "__|Osmitrol VEX
Baxter IRecombinate
Baxter Sod Chloride
Baxter . _ Sodium Chlor Sol
Baxter 'Travasol
Baxter Travasol w/ Dextrose
Baxter Vancocin HCL
Baxter [Vancocin/ Dex
Bayer Pharmaceutical ___ {Cipro
Bayer Pharmaceutical Cipro Cystit Tab
Bayer Pharmaceutical Cipro LV.

Bayer Pharmaceutical Cipro XR
Bayer Pharmaceutical DTIC-DOME
- [Bayer Pharmaceutical Gamimune N
Bayer Pharmaceutical Koate-HP
Bayer Pharmaceutical Kogenate FS
Bayer Pharmaceutical Mithracin

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fas

B-M Squibb (Paraplatin Inj
B-M Squibb Blenoxane
B-M Squibb Cytoxan
B-M Squibb Etopophos
B-M Squibb Rubex
IB-M Squibb Taxol .
B-M Squibb Vepesid
B-M Squibb Ividex EC
IB-M Squibb Avapro
B-M Squibb Buspar
IB-M Squibb . |Cefzil
B-M Squibb Glucophage)
B-M Squibb Glucovance)
.{B-M Squibb IMonopril)
B-M Squibb Plavix)
B-M Squibb Serzone)
B-M Squibb Tequin)
B-M Squibb Coumadin
[Apothecon Amikin (amikacin sulfate)
Apothecon Fungizone (amphotercin b)
Cerenex Amerge
Cerenex Imitrex
Cerenex Zofran
Dey Labs |Acetylcysteine
Dey Labs {Albuterol
Dey Labs Cromolyn Sodium
Dey Labs Epratropiumi
[Dey Labs Metaproteren Neb
Fujisawa Aristocort
Fujisawa Aristospan
Fujisawa Cefizox
Fujisawa Cefizox/D5W
Fujisawa Cyclocort
Fujisawa Lyphosin
Fujisawa INebupent or Pentam 300
Fujisawa Prograf
Fujisawa \Vinblastine Sulfate
Gensia Amikacin Sulfate
Gensia Amphotercin B
Gensia Etoposide

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oa

Gensia Leucovorin Calcium
(GlaxoSmithKline Advair Diskus
GlaxoSmithKline Agenerase
GlaxoSmithKline Agenerase SOL
GlaxoSmithKline Alkeran
GlaxoSmithKline Amerge
GlaxoSmithKline Beconase
GlaxoSmithKline Ceftin
GlaxoSmithKline Combivir |
GlaxoSmithKline [Daraprim
GlaxoSmithKline Epivir
GlaxoSmithKline Epivir HBV
GlaxoSmithKline Flonase
GlaxoSmithKline Flovent
GlaxoSmithKline IFlovent ROTA
GlaxoSmithKline Imitrex

‘|GlaxoSmithKline Kytril

_ {GlaxoSmithKline Lamictal
GlaxoSmithKline Lanoxin
GlaxoSmithKline Lanoxin Ped
GlaxoSmithKline Leukeran
GlaxoSmithKline IMepron
GlaxoSmithKline IMyleran
GlaxoSmithKline INavelbine
GlaxoSmithKline Paxil
GlaxoSmithKline Paxil CR
GlaxoSmithKline Purinethol
GlaxoSmithKline Relenza —
GlaxoSmithKline Retrovir
GlaxoSmithKline Servent
GlaxoSmithKline. ‘Thioguanine
GlaxoSmithKline Trizivir
GlaxoSmithKline Valtrex
GlaxoSmithKline Ventolin HFA
GlaxoSmithKline Wellbutrin
GlaxoSmithKline |Zantac
GlaxoSmithKline Ziagen
GlaxoSmithKline Zofran
GlaxoSmithKline Zovirax
GlaxoSmithKline Zyban
Immunex Leucovorin Calcium
immunex (Leukine

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Methotrexate Sodium

mmunex

Immunex \Novantrone
Immunex Thioplex
J&J Group (Centocor) Remicade
J&J Group (Janssen Pharmaceutica) Aciphex
)&J Group (Janssen Pharmaceutica) Duragesic
J&J Group (Janssen Pharmaceutica) Reminyl

J &J Group (Janssen Pharmaceutica) [Risperdal
)&J Group (Janssen Pharmaceutica) Sporanox

J&J Group (Ortho McNeil Pharmaceutical)

Bicitra

&J Group (Ortho McNeil Pharmaceutical)

Elmiron

&J Group (McNeil-PPC)

Flexeril

J&J Group (Ortho McNeil Pharmaceutical)

Floxin.

J&J Group (Ortho McNeil Pharmaceutical)

IHaldol

J&J Group (Ortho McNeil Pharmaceutical)

Haldo] Decan

[&J Group (Ortho McNeil Pharmaceutical)

Levaquin

J&J Group (Ortho McNeil Pharmaceutical)

J&} Group (Ortho McNeil Pharmaceutical)

IMycelex
Pancrease

&J Group (Ortho McNeil Pharmaceutical)

Pancrease MT

J&J Group (Ortho McNeil Pharmaceutical)

Parafon Fort

J&J Group (Ortho McNeil Pharmaceutical)

Polycitra

J&J Group (Ortho McNeil Pharmaceutical)|Polycitra-K
-J&J Group (Ortho McNeil Pharmaceutical)|Polycitra-K Sol
J&J Group (Ortho McNeil Pharmaceutical)|Polycitra-LC Sol

J&J Group (Ortho McNeil Pharmaceutical)

Regranex

J&J Group (Ortho McNeil Pharmaceutical)

'Terazol 3

J&J Group (Ortho McNeil Pharmaceutical)

‘Terazol 7

&J Group (Ortho McNeil Pharmaceutical)

Testoderm

J&J Group (Ortho McNeil Pharmaceutical)

Tolectin

J&J Group (Ortho McNeil Pharmaceutical)

Tolectin DS

J&J Group (Ortho McNeil Pharmaceutical)

(Topamax

J&J Group (Ortho McNeil Pharmaceutical)

Tylenol/ Cod

J&J Group (Ortho McNeil Pharmaceutical)

ITylox

J&J Group (Ortho McNeil Pharmaceutical)

Ultracet

J&J Group (Ortho McNeil Pharmaceutical)

Ultram’

&J Group (Ortho McNeil Pharmaceutical)

Hrispas

J&J Group (Ortho McNeil Pharmaceutical)

Vascor

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&J Group (Ortho Biotech Products) Procrit
J&J Group (Ortho Neutrogena) Erycette
J&J Group (Ortho Neutrogena) Grifulvin V
J&J Group (Ortho Neutrogena) IMonistat
J&J Group (Ortho Neutrogena) Renova
J&J Group (Ortho Neutrogena) Retin-A

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ey Group (Ortho Neutrogena)

Retin-A Micr Gel

J&J Group (Ortho Neutrogena)

Spectazole Cream

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. (Novartis Clozaril
Novartis Combipatch
Novartis Comtan
INovartis Estraderm
Novartis Exelon

[Novartis Femara
Novartis Lamisil
Novartis Lamprene
Novartis Lescol
Novartis ‘(Lescol XL

. [Novartis Lotensin
Novartis Lotensin HCT ~
Novartis Lotrel
(Novartis _ Miacalcin
Novartis - [Parlodel
Novartis Ritalin
Novartis _ Ritalin LA
Novartis Starlix
Novartis Tegretol

-Novartis Tegretol XR
Novartis Trileptal
Novartis 'Vivelle
INovartis Vivelle-DOT
Pfizer Accupril
Pfizer Accuretic
Pfizer Cardura
Pfizer Celontin
Pfizer Dilantin -
Pfizer Dilantin-125
Pfizer Estrostep FE
Pfizer Femhrt 1/5
Pfizer Lipitor
Pfizer Lopid
Pfizer IMinizide
Pfizer INardil
Pfizer - Neurontin
Pfizer INitrostat
Pfizer IRenese
Pfizer Rescriptor
Pfizer Viracept

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